     Case 1:16-cr-00009-DAD-BAM Document 114 Filed 07/10/17 Page 1 of 1


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 5                                   UNITED STATES DISTRICT COURT

 6                              EASTERN DISTRICT OF CALIFORNIA

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 8   UNITED STATES OF AMERICA,                        Case No. 1:16-CR-0009-DAD-BAM
 9                      Plaintiff,                    ORDER TO SHOW CAUSE TO DEFENSE
                                                      COUNSEL SWINTON
10          v.
11   JOSE REYES-PINEDA,                               Date: July 24, 2017
                                                      Time: 1:00 p.m.
12                      Defendant.                    Dept.: Courtroom 8 (BAM)
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15          This court held a regularly scheduled status conference on July 10, 2017. Defendant Jose

16   Reyes-Pineda appeared. Counsel for Defendant Reyes-Pineda, Counsel Oscar Swinton, failed to

17   appear. As a result, the conference could not proceed without the necessary input from counsel,

18   resulting in delay of this action. Due to counsel’s failure to appear, the Court was required to

19   continue the conference to July 24, 2017.

20          Accordingly, counsel for Defendant Jose Reyes-Pineda is ORDERED TO SHOW CAUSE

21   why this Court should not impose sanctions for the failure to appear at the status conference. A

22   hearing on the Order to Show Cause is SET for Monday July 24, 2017 at 1:00 p.m. in

23   Courtroom 8 (BAM) before Magistrate Judge Barbara A. McAuliffe. Counsel is ordered to

24   appear. Failure to appear at the hearing may result in the imposition of sanctions.
     IT IS SO ORDERED.
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26      Dated:     July 10, 2017                              /s/ Barbara A. McAuliffe          _
                                                          UNITED STATES MAGISTRATE JUDGE
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